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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NOTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

FREDRICK CHERRY,                               Civil Action No.

     Plaintiff,                                   2:21-CV-143-RWS-JCF

v.
                                               JURY TRIAL DEMANDED
SPECIALTY APPLIANCES LLC.,

     Defendant.


                         COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Fredrick Cherry (“Plaintiff”), by and through his

undersigned counsel, and files this Complaint for Damages, and shows the Court

as follows:

                        I.      NATURE OF COMPLAINT

                                          1.

        Plaintiff brings this action for damages, liquidated damages, and reasonable

attorney fees for Defendant’s violation of his rights under Title VII of the Civil

Rights Act of 1964, as amended, 42 U.S.C. § 2000e (“Title VII”), and the Civil

Rights Act of 1991, 42 U.S.C. § 1981, et. seq. (“Section 1981”).




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                   II.      ADMINISTRATIVE PROCEDURES

                                             2.

        Plaintiff has fulfilled all conditions necessary to proceed with this cause of

action under Title VII.       Plaintiff filed his charge of discrimination against

Defendant Specialty Appliances, LLC. (“Defendant”) with the EEOC on

September 24, 2020; the EEOC issued its Notice of Right to Sue on April 28,

2021.

                                             3.

        Plaintiff timely filed this action within ninety (90) days of receipt of the

Notice of Right to Sue from the EEOC

                     III.      JURISDICTION AND VENUE

                                             4.

        Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. §§ 1331

and 1343, 42 U.S.C. § 1981, and 29 U.S.C. § 261(b)

                                             5.

        The unlawful employment practices alleged in this Complaint were

committed within this district. In accordance with 28 U.S.C. § 1391 and 42 U.S.C.

§1981, venue is appropriate in this Court.




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                                 IV.        PARTIES

                                            6.

   Plaintiff is an African American male citizen of the United States of America,

and is subject to the jurisdiction of this Court.

                                            7.

       At all times relevant Defendant was qualified and licensed to do business in

Georgia, and at all times material hereto has conducted business within this

District.

                                            8.

       Defendant is now and, at all times relevant hereto, has been a domestic for-

profit corporation engaged in an industry affecting commerce. During all times

relevant hereto, Defendant has employed fifteen (15) or more employees for the

requisite duration under Title VII. Defendant is therefore covered under Title VII

in accordance with 42 U.S.C. § 2000e(b).

                                            9.

       Defendant may be served with process through their Registered Agent, Scott

Huge at 4905 Hammond Industrial Drive, Ste. J, Cumming, Georgia 30041.




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                      V.        FACTUAL ALLEGATIONS

                                           10.

      The Agency employed Plaintiff as Assistant Production manager from on or

around May 15, 2019, until on or around June 21, 2020.


                                           11.

      Plaintiff was the only African American Manager at the Agency, with all

other managers being Caucasian.

                                           12.

      In March 2020, the Agency furloughed all employees due to the COVID-19

pandemic.


                                     13.
      On or around June 1, 2020, the Agency notified Plaintiff that his lay off

would be permanent. Plaintiff was the only manager to be permanently laid off

from the Agency.

                                           14.

      In addition, Plaintiff was the only African American manager at the Agency.

Plaintiff has reason to believe that his previous position was not only posted after

he was permanently laid off, but also filled.




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                                             15.

      In December 2020, Plaintiff and the Agency took participated in mediation

to resolve the matter. However, the mediation was unsuccessful.

                        VI.       CLAIMS FOR RELIEF

COUNT ONE: RACE DISCRIMINATION IN VIOLATION OF TITLE VII

                                             16.

      Plaintiff re-alleges the preceding paragraphs as if set forth fully herein.

                                             17.

      Defendant’s actions in subjecting Plaintiff to ongoing race discrimination

constitute         unlawful          discrimination         on         basis        of

(“Plaintiff’s”) race in violation of Title VII.

                                             18.

      Defendant willfully and wantonly disregarded Plaintiff’s rights, and its

discrimination against Plaintiff was undertaken in bad faith.

                                             19.

      The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunity, and to otherwise adversely affect heis status as

an employee because of his race.




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                                           20.

      As a direct and proximate result of Defendant’s violation of Title VII,

Plaintiff has been made the victim of acts that have adversely affected his

psychological and physical well-being.

                                           21.

      Accordingly, Defendant is liable for the damages Plaintiff has sustained as a

result of Defendant’s unlawful discrimination.


               COUNT TWO: VIOLATION OF 42 U.S.C. § 1981

                                           22.

      Plaintiff re-alleges the preceding paragraphs as if set forth fully herein.

                                           23.

      Defendant subjected Plaintiff to discrimination and harassment on the basis

of his race.

                                           24.

      Defendant’s actions in subjecting Plaintiff to different terms and conditions

of employment constitutes unlawful discrimination on the basis of race in violation

of 42 U.S.C. section 1981.




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                                          25.

        The effect of the conduct was to deprive Plaintiff of economic opportunites,

and otherwise adversely effect Plaintiff’s status as an employee, because of his

race.

                                          26.

        As a direct and proximate result of these actions, Plaintiff has been made a

victim of acts that adversely affected his psychological and physical well being.

                                          27.

        As a direct and proximate result of Defendant’s unlawful employment

practices, Plaintiff has been embarrassed, humiliated and has suffered damage to

his emotional health, and has lost back pay and front pay.

                                          28.

        Defendant has willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s discrimination against Plaintiff was undertaken in bad faith.

                                          29.

        Defendant chose not to take appropriate remedial steps to prevent or correct

the harassment.




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WHEREFORE, Plaintiff judgment as follows:

(a)        General damages for mental and emotional suffering caused by

           Defendant’s misconduct;

(b)        Punitive damages based on Defendant’s willful, malicious,

           intentional,   and    deliberate   acts,   including   ratification,

           condemnation and approval of said acts;

(c)        Special damages and/or liquidated damages for lost wages and

           benefits and prejudgment interest thereon;

(d)        Reasonable attorney’s fees and expenses of litigation;

(e)        Trial by jury as to all issues;

(f)        Prejudgment interest at the rate allowed by law;

(g)        Declaratory relief to the effect that Defendant The Salvation

           Army, has violated Plaintiff’s statutory rights;

(h)        Injunctive relief of reinstatement, or front pay in lieu thereof,

           and prohibiting Defendant, from further unlawful conduct of

           the type described herein; and

(i)        All other relief to which she may be entitled.




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Respectfully submitted the 30th day of June, 2021.

                               /s/ Jeremy Stephens
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